                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                         DOCKET NO. 3:15-cr-00212-MOC-DSC
                         DOCKET NO. 3:15-cr-00213-MOC-DSC

 UNITED STATES OF AMERICA,                     )
                                               )
                                               )
                                               )
 Vs.                                           )                       ORDER
                                               )
 JONATHAN FERNANDEZ                            )
 YAMPIER DUARTE LAITANO                        )
 CARLOS FERRAT-GUTIERREZ                       )
 STEVEN BLANCO VARGAS                          )
 BRIGITTE FERRAT                               )
 CHRIS JERILEE ARTAVIA-MASIS,                  )
                                               )
                  Defendants.                  )



       THIS MATTER is before the Court on the government’s Motion to Consolidate Cases.

Specifically, the government seeks to consolidate this 6 defendant case with a 13 defendant case,

3:15cr213, now pending before the Honorable Frank D. Whitney, Chief United States District

Judge. The government has also filed a Motion to Consolidate in that case. The court notes that

not all defendants concur; however, consolidation is here warranted as these cases should have

been indicted together originally. Further, the effective way to assure compliance with Section

3553’s requirement of avoidance of unwarranted sentencing disparities is for one judge to sentence

all defendants.

       To prevent inconsistent rulings on motions to consolidate, LCrR 20.1 provides for the filing

of one motion to consolidate in one case with a notice of such filing in the other. Because two

motions were filed (one in each case), the Court has conferenced and jointly determined that the



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undersigned will handle the motion to consolidate.

                                         ORDER

      IT IS, THEREFORE, ORDERED that the Motion to Consolidate Cases (#32) is

GRANTED and 3:15cr213 is consolidated with 3:15cr212 for purposes of trial and sentencing.

      (1)     for Speedy Trial Purposes, the Clerk of Court is instructed to calendar the
      remaining defendant on a trial calendar in 3:15cr213, CARLIN WOODS, for trial
      before the undersigned on May 1, 2017;

      (2)     if resolution by Defendant Woods is not anticipated before that date or if
      defendant will not be prepared for trial by that date, counsel for Defendant Woods
      should promptly file a motion to continue in this consolidated case, which would
      move this matter from the May 1 to the May 15, 2017, calendar where co-
      defendants in 3:14cr212 are docketed; and


      (3)     the unopposed Motion to Consolidate Cases for Sentencing (#70) filed in
      3:15cr213 is GRANTED and Defendant Sierp sentencing in this matter is

      consolidated with his sentencing in 3:16cr221-MOC.



      The Clerk of Court is instructed to send a courtesy copy of this Order to Chief Judge

  Whitney.




  Signed: March 22, 2017




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